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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

JAMES MOORE,                                  §
                                              §
       Plaintiff,                             §
                                              §
v.                                            §
                                              §
VALERO ARDMORE REFINERY,                      §
VALERO REFINING COMPANY,                      § Cause No.: 3:14-mc-103
VALERO ENERGY CORPORATION,                    §
and                                           §
VALERO MARKETING AND SUPPLY                   §
COMPANY,                                      §
                                              §
       Defendants.                            §
                                              §


 DEFENDANTS VALERO COMPANIES c/o J.V. INDUSTRIAL COMPANIES, LTD.’S
   SPECIAL APPEARANCE, MOTION TO DISMISS AND SUBJECT THERETO
 AND IN THE ALTERNATIVE, RESPONSE TO PLAINTIFF’S MOTION TO VACATE
                        ARBITRATION AWARD

       COME NOW, Defendants Valero Companies c/o J.V. Industrial Companies, Ltd.

(“Valero”), making a special appearance pursuant to Federal Rule 12(b), and hereby file

their Motion to Dismiss and Subject Thereto and in the Alternative, Motion to Confirm

Arbitration Award and Response to Plaintiff’s Motion to Vacate Arbitration Award. This

special appearance is filed prior to any other pleading or motion in this case and all

subsequent pleadings filed by Defendants are filed subject to this special appearance.

Furthermore, Defendants reserve the right to assert remaining defenses and objections

enumerated in Federal Rule 12(b).

       Defendants respectfully request that this Court dismiss Plaintiff’s Motion to

Vacate Arbitration Award for the following reasons:



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                                            ARGUMENTS

        I.      Plaintiff Did Not Effect Proper Service Within 9 U.S.C. § 12’s Three
                Month Limitations Period

        II.     Even if Served Properly, Plaintiff’s Motion Has No Merit Because
                Defendants Committed No Acts of Fraud Or Undue Means

                       BACKGROUND AND PROCEDURAL HISTORY

        James Moore (“Plaintiff”), an employee of J.V. Industrial Companies (“J.V.”), was

allegedly injured on January 16, 2008 while working at a Valero refinery in Ardmore,

Oklahoma.1 J.V. was a contractor doing work for Valero at Valero’s Ardmore refinery.

Valero provided workers’ compensation insurance coverage to J.V.’s employees as per

the Alliance Work Agreement between J.V. and Valero, which stated that all arbitrations

would be controlled by Texas law.2 On June 13, 2007 Plaintiff executed an agreement

to arbitrate any future claims against Defendants, his then employer.3

        As a result of the alleged incident, Plaintiff filed a worker’s compensation claim

on January 31, 2008.4 The claim was resolved by compromise settlement on October

9, 2012, awarding Plaintiff $23,000.00.5             This amount was awarded to Plaintiff, in

addition to the provision of all reasonable and necessary medical services for the

treatment of the alleged injury.6

        While Plaintiff was receiving treatment paid by his worker’s compensation

coverage, he also filed suit in district court on January 14, 2010.7 However, this suit

was dismissed on December 28, 2011, due to the Arbitration Agreement which Plaintiff

1
  See Moore’s Statement of the Case, Exh. A, No. 4.
2
  See Alliance Work Agreement, Exh. B. at p. 8, 78-9; see also Affidavit by Diane M. Hirsch, Exh. C.
3
  See Arbitration Agreement, Exh. D. at p. 2; see also Exh. C.
4
  See Moore’s original filing of Workers’ Compensation, Exh. E.
5
  See Compromise Settlement, Exh. F.
6
  See id.
7
  See Original Petition, Exh. G.

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signed, agreeing to use arbitration to settle any differences between Defendants. 8 Per

the Arbitration Agreement, the date by which he was to make a timely request for

arbitration was January 16, 2010. However, it was not until five years after the incident,

on September 3, 2013, that Plaintiff filed his Demand with the American Arbitration

Association.9

        On April 4, 2014 arbitrator Carlos Lopez issued an arbitration award finding that

Plaintiff’s arbitration demand was filed beyond the statute of limitations. Following the

submission of this award, Plaintiff drafted and filed a Motion to Vacate Arbitration Award

with the Court on June 30, 2014, yet failed to serve notice of his motion on Defendants

as strictly mandated by 9 U.S.C. § 12. This failure to execute service has produced a

myriad of issues for the Defendants with regards to compliance with 9 U.S.C., timelines

for responsive pleadings, etc. As of today, Plaintiff has yet to provide actual service to

Valero in accordance with the federal statute.

                                              ANALYSIS

        I.      Plaintiff Did Not Effect Proper Service Within The Three Month
                Limitations Period

             A. Plaintiff Did Not Effect Proper Service.

        In detailing how a party to an arbitration award may vacate, modify or correct an

arbitration award, 9 U.S.C. § 12 provides specific procedures for how such motion must

be served. The statute states:

                Notice of a motion to vacate... an award must be served
                upon the adverse party or his attorney within three months

8
  See Arbitration Agreement, Exh. D.
9
  Note: According to the Alliance Work Agreement between Valero and JV, the choice of law and forum
“shall be governed exclusively by, and construed exclusively in accordance with, Texas law and any
applicable federal law, without regard to conflicts of laws, rules, or principles as applied in Texas.” See
Alliance Work Agreement at 27, Exh. B.

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                after the award is filed or delivered. If the adverse party is a
                resident of the district within which the award was made,
                such service shall be made upon the adverse party or his
                attorney as prescribed by law for service of notice of motion
                in an action in the same court.10

        Since the Defendants are residents of the United States District Court for the

Northern District of Texas, the district within which the award was made, the local rules

of the court govern service of process. Local Rule 5 addresses proper filing and serving

of pleadings and pursuant to Local Rule 5.1(d), for service by electronic means to be

deemed valid and sufficient, the notice of electronic filing that is automatically generated

by ECF (Electronic Case Filing) must be delivered to the opposing party if that party is

registered user of ECF11.

        On June 30, 2014, Plaintiff faxed Defendants, registered users of ECF 12, a copy

of his Motion to Vacate. This faxed copy was not accompanied with the automatically

generated ECF notice of electronic filing, per the Court’s rule.13 Thus, the Plaintiff’s

transmission of his Motion to Vacate was in direct contravention of 9 U.S.C. § 12’s

express and unambiguous requirement, and was accordingly insufficient.

        When service of process is insufficient, the court may quash the service or

dismiss the suit.14 Because Plaintiff’s the service of notice of his Motion to Vacate

Arbitration was insufficient, the Court should dismiss Plaintiff’s motion.

            B. Plaintiff’s Motion is Time Barred By 9 U.S.C. § 12’s Statute of
               Limitations




10
   9 U.S.C. § 12.
11
   N.D. Tex. R. 5.1d.
12
   See Affidavit of Soluto Uba, Exh. H.
13
   See Plaintiff’s Motion To Vacate Arbitration Award, Exh. I
14                                                                        th
   See Adams v. Allied Signal Gen. Aviation Avionics, 74 F. 3d 882, 886 (8 Cir. 1996).

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       9 U.S.C. § 12 states that “notice of a motion to vacate... an award must be

served upon the adverse party or his attorney within three months after the award is

filed or delivered.”15 The Fifth Circuit has recently considered the three-month limitations

period for service pursuant to 9 U.S.C. § 12, and has confirmed that service of the

motion to vacate must be made within three months from the filing or delivery of the

arbitration award in order to be timely.16 This finding serves to compliment the trove of

federal case-law confirming that an untimely motion to vacate must be denied.17

Additionally, it has been well settled in the Fifth, and many other U.S. Circuit Courts,

that a party who does not serve her motion to vacate on the adverse party within three

months after the award is filed or delivered, “forfeits the right to judicial review of the

award.18” When judicial review is forfeited, a motion must thereafter be dismissed.

       While Plaintiff faxed Defendants a copy of his motion to Plaintiff on June 30,

2014, this transmission did not constitute service per the statute as well as the local

rules of the district court. Using April 4, 2014, the date that the arbitration award was

delivered to the parties, as a starting point, the deadline for Plaintiff to serve notice of

his motion to vacate on Defendants was July 4, 2014. Accordingly, since the July 4,

2014 deadline has expired, Plaintiff’s motion was not served on Defendants within three

months of April 4, 2014 and should thus be dismissed as it is time barred.

       II.     Even If Served Properly, Plaintiff’s Motion Lacks Merit Because
               Defendants Committed No Acts Of Fraud Or Undue Means.



15
   9 U.S.C. § 12.
16
   See Alvarado v. Wells Fargo Advisors, LLC, 2011 WL 677354 (S.D. Tex. Feb. 15, 2011).
17
   See Taylor v. Nelson, 788 F.2d 220, 225 (4th Cir. 1986).
18
   See, Jason v. Halliburton Co., 2002 WL 31319945 (E.D. La. Oct. 15, 2002); see also Smith v. Shell
Chem. Co., 333 F. Supp. 2d 579, 585 (M.D. La. 2004); Pfannestiel v. Merrill Lynch, 477 F.3d 1155, 1158
(10th Cir. 2007); Corey v. New York Stock Exchange, 691 F.2d 1205, 1212 (6th Cir. 1982); Piccolo v.
Dain, Kalman & Quail, Inc., 641 F.2d 598, 600 (8th Cir. 1981).

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            A. The Court Should Deny Plaintiff’s Motion To Vacate On The Basis Of
               9 U.S.C. § 10(a)(1) Because Plaintiff Has Failed To Allege Acts Of
               Fraud Or Undue Means.

        Pursuant to 9 U.S.C. §10(a), courts will grant a motion to vacate an arbitration

award only when a party to the arbitration or an arbitrator has committed intentional

wrongdoing. Specifically, 9 U.S.C. §10(a)(1) states that an arbitration award may be

vacated “where the award was procured by corruption, fraud, or undue means”19

        Courts have concluded that an arbitration award is procured by fraud when a

party or its witnesses intentionally mislead the arbitrator on material issues.20 Courts

have invalidated arbitration awards on the basis of corruption or undue means when a

party has bribed or threatened an arbitrator.21 Ultimately, courts will vacate an

arbitration award under § 10(a) only in the face of evidence of intentional misconduct by

one of the parties or by the arbitrators.22

        In the present matter, Plaintiff does not allege any facts that would support a

conclusion that the arbitration award was procured through fraud or undue means.

Plaintiff has not pleaded facts in support of a claim of fraud as he does not allege that

Defendants lied to or misled the arbitrator.23 Plaintiff likewise has not alleged any facts

that would support a conclusion that Defendants procured the award through undue

means as they do not allege that Defendants bribed, threatened or exerted other




19
   9 U.S.C. §10(a).
20
   Bonar v. Dean Witter Reynolds, Inc., 835 F.2d 1378, 1383-84 (11th Cir. 1988).
21
   See, e.g., American Postal Workers Union v. United States Postal Serv., 52 F.3d 359, 362 (D.C. Cir.
1995) (”“[U]ndue means must be limited to an action by a party that is equivalent in gravity to corruption
or fraud, such as a physical threat to an arbitrator or other improper influence.‘’).
22
   Paine Webber Group, Inc. v. Zinsmeyer Trusts P'ship, 187 F.3d 988, 991 (8th Cir. 1999).
23
    See Bonar v. Dean Witter Reynolds, Inc., 835 F.2d at 1383-84; International Brotherhood of
Teamsters, 335 F.3d at 503.

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improper pressure upon any of the arbitrators.24 Instead, Plaintiff’s entire claim is

premised on the theory that Defendants were obliged to inform or advise him of the

arbitration agreement he signed.25 However, the relevant caselaw holds this position to

be entirely unfounded.

           B. Plaintiff’s Ignorance Of His Arbitration Agreement Is Not A Basis For
              Claims Of Fraud Or Undue Means Because Defendants Had No Duty
              To Inform Or Advise Plaintiff of Arbitration Agreement.

       It has been well established in the Fifth Circuit that parties to a contract have an

inherent duty to read the terms of a contract prior to signing; that is, a party may neither

neglect to become familiar with the terms and conditions and then later complain of lack

of knowledge, nor avoid a written contract merely because he or she failed to read it.26

In the instant matter, Plaintiff may not escape the statute of limitations provisions of his

arbitration agreement by simply stating he was not aware of it, nor may he accuse

Defendants of fraud, for not advising him of it.

       The Fifth Circuit addressed a similar set of circumstances in the case of MS

Credit Center, Inc. v. Horton. In this case, the plaintiff argued she should not be subject

to the arbitration agreement she signed because she was ignorant to its terms and the

defendant failed to advise her of them. The court in that case reiterated, however, that

the defendant had no duty to inform the plaintiff of the terms of an arbitration agreement

she signed, and found judgment for the defendant.27

       Accordingly, in the present matter, it is Plaintiff’s contention that because he was

ignorant of the terms of the arbitration agreement he availed himself to, and Defendants

24
    American Postal Workers Union v. United States Postal Serv., 52 F.3d at 362; Paine Webber Group,
Inc. v. Zinsmeyer Trusts P'ship, 187 F.3d at 991.
25
   See Exh. I, ¶ 16.
26
   Titan Indem. Co. v. City of Brandon, Miss., 27 F.Supp.2d 693, 697 (S.D.Miss.1997).
27
   See MS Credit Ctr., Inc. v. Horton, 926 So. 2d 167, 176 (Miss. 2006).

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did not perform his due diligence for him and inform him of those terms, they are

somehow liable for fraud or undue means. Unfortunately for Plaintiff, there is no law that

supports this assertion, and these allegations, accordingly, have no merit.

       Defendants did not deceive, mislead, bribe, threaten, or exert some improper

pressure on the arbitrator. Furthermore, since Defendants had no obligation to advise

Plaintiff of the terms of the arbitration agreement he signed, and Plaintiff had a duty to

abide by the terms of said agreement, Defendant is not liable for fraud or undue means.

Thus, the Plaintiff’s allegations are without merit and the court should deny his motion.

                                       CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court grant

its Motion to Dismiss Plaintiff’s Motion to Vacate Arbitration Award and, in the

alternative, enter judgment on their behalf denying the Plaintiff's Motion to Vacate

Arbitration Award.




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                                                   Respectfully submitted,


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                                                   ATTORNEYS FOR DEFENDANTS



                                CERTIFICATE OF SERVICE

      A true and correct copy of the foregoing has been forwarded to the following
counsel of record this 24th day of July, 2014, as follows:

Via ECF Service
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